Case 8:22-cv-02237-SDM-AAS Document 143 Filed 02/09/24 Page 1 of 3 PageID 5293




                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  JESSE MARTINEZ, on behalf of
  himself and all others similarly
  situated,
                  Plaintiff,                 Case No. 8:22-cv-02237-SDM-AAS

                     v.

  RUMBLE INC.,
            Defendant.


        DEFENDANT RUMBLE INC.’S OPPOSITION TO FORMER
       PLAINTIFF BUECHLER’S REQUEST FOR A CONTINUANCE

       Over half a year ago, (a) former Plaintiff James Buechler’s counsel moved

 to withdraw from this case with Buechler’s consent (ECF No. 82), and

 (b) Defendant Rumble Inc. (“Rumble”) moved for sanctions against Mr. Buechler

 for doctoring evidence, committing perjury at his deposition, and spoliating

 evidence (ECF No. 85). Now, after already having been granted a continuance of

 more than 90 days to find new counsel, Mr. Buechler seeks another

 continuance—this time so his newest attorney can repeat work that was

 performed by his prior counsel and interview a witness the parties have known

 about since at least October. Rumble respectfully submits that Mr. Buechler fails

 to show good cause for a continuance.

       First, Mr. Buechler has had since at least July 24, 2023—when his prior

 counsel filed their motion to withdraw with his consent—to find a new attorney

 and bring them up to speed on Rumble’s motion.
Case 8:22-cv-02237-SDM-AAS Document 143 Filed 02/09/24 Page 2 of 3 PageID 5294




       Second, the sanctions hearing has already been postponed twice. The

 evidentiary hearing was originally scheduled for October 10, 2023, but was

 delayed to November 9, 2023. ECF No. 118. Mr. Buechler thereafter wrote to the

 Court asking for “a postponement until [he was] able to find an attorney to

 represent [him].” ECF No. 126. Rumble promptly responded to Mr. Buechler’s

 request and consented to a “reasonable postponement to allow [him] to attempt

 to obtain counsel not to exceed 90 days.” ECF No. 135. The Court then granted

 Mr. Buechler’s request and re-scheduled the sanctions hearing for 98 days later,

 or February 15, 2024. ECF No. 136.

       Third, Mr. Buechler’s reasons for needing more time are unconvincing.

 Although counsel refers to “voluminous pleadings, correspondence, motions

 [and] deposition and hearing transcripts,” (ECF No. 142 at 1), Rumble’s motion

 for sanctions was a mere 22 pages long, and there is only a single relevant

 deposition transcript—the deposition at which Mr. Buechler committed perjury,

 which lasted roughly 3.5 hours on the record.

       Moreover, although counsel claims he needs more time to “image” Mr.

 Buechler’s multiple devices, Mr. Buechler testified in July that he used an HP

 laptop to sign up for his rumble.com account (at which time he would have

 received the account activation e-mail he is accused of doctoring) and that his

 counsel had in fact imaged that computer two weeks prior to the deposition. ECF

 No. 86-3 at 21:15–19, 23:13–17.



                                          2
Case 8:22-cv-02237-SDM-AAS Document 143 Filed 02/09/24 Page 3 of 3 PageID 5295




       In addition, counsel states that he “has only recently learned of the identity

 of an individual in Maryland who may have information related to the January

 2022 email central to Rumble’s motion.” ECF No. 142 at 6. Presumably, this

 individual is James Wagnar Jr., who, Mr. Buechler told the Court on October 24,

 2023, “took a computer screenshot of the Rumble Welcome e-mail dated January

 21, 2022, that was in [his] America Online (AOL) in-box and placed it on [his]

 desktop.” ECF No. 128.

       Rumble respectfully submits that counsel’s need to image a computer that

 was already imaged by prior counsel and to interview a witness known to Plaintiff

 since at least October 2023 does not constitute good cause—especially given that

 (i) Mr. Buechler was already granted a continuance to find new counsel, and

 (ii) he consented to his former counsel’s withdrawal in July of last year.

       Mr. Buechler’s latest motion for a continuance fails to meet the standard of

 good cause and accordingly should be denied.


 Dated: February 9, 2024
 New York, New York

 Respectfully submitted,

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